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 8                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
 9
                                 OAKLAND DIVISION
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     IN RE COLLEGE ATHLETE NIL              CASE NO. 4:20-CV-03919-CW
11   LITIGATION
                                            [PROPOSED] ORDER GRANTING
12                                          PLAINTIFFS’ MOTION TO APPROVE
                                            MANNER AND FORM OF CLASS NOTICE
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14                                          Hon. Claudia Wilken

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        [PROPOSED] ORDER GRANTING PLS. MOT. TO APPROVE MANNER AND FORM OF CLASS NOTICE
                                      CASE NO. 4:20-CV-03919-CW
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             This matter is before the Court on Plaintiffs’ Motion to Approve Manner and Form of Class
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     Notice (“Motion”).
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             Having considered Plaintiffs’ Motion, the declarations submitted in support thereof, and
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     finding the notices and notice plan satisfy the requirements of Fed. R. Civ. P. 23(c)(2)(B), the Motion
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     is GRANTED, and the Court hereby ORDERS:
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             1.      The Court has reviewed Plaintiffs’ notice plan, as described in Plaintiffs’ Motion and
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     accompanying materials (the Notice Plan). Plaintiffs propose using a combination of direct notice via
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     email and, if necessary, regular mail (postcard) to all class members for whom contact information is
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     reasonably available, as well as a robust publication notice campaign focused on digital media, a press
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     release, organizational outreach, a case-specific website, and a toll-free telephone number to deliver
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     notice to potential class members. The Notice Plan is expected to reach more than 70% of the class
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     via the publication notice campaign alone, and it will reach more potential class members via direct
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     notice and organizational outreach. The Court finds that this notice plan provides the best practicable
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     notice under the circumstances.
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             2.      Kurtzman Carson Consultants Class Action Services, LLC (KCC) shall be appointed
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     as the notice administrator for the Plaintiffs and shall implement the Notice Plan, as described in
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     Plaintiffs’ Motion and accompanying materials. Plaintiffs shall maintain a case-specific website to
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     host     the    notice     documents        and     other     information      about      the    case      at
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     www.NILCollegeAthleteLitigation.com.
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             3.      Plaintiffs have attached to their Motion a proposed long-form notice, email notice, and
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     postcard notice. See Exhibits A–C to the Declaration of Carla A. Peak, filed concurrently with
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     Plaintiffs’ Motion. The Court has reviewed these notices. The notices use neutral language to describe:
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     (1) the nature of the action; (2) the definition of the certified class; (3) the claims and issues related to
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     the lawsuit; (4) class counsels’ identity and contact information; and (4) the binding effect of a
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     judgment on class members. The proposed notices also tell class members that they can opt out of the
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     class by requesting an exclusion before the deadline, sets out the consequences of opting out, and
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     informs them that if they opt out, they may bring their own case through their own attorney, if desired.
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     In other words, the notices apprise class members “of the pendency of the class action and give [them]
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                                                       2
            [PROPOSED] ORDER GRANTING PLS. MOT. TO APPROVE MANNER AND FORM OF CLASS NOTICE
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     a chance to be heard.” Ross v. Trex Co. Inc., 2013 WL 791229, at *1 (N.D. Cal. Mar. 4, 2013) (citing
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     Silber v. Mabon, 18 F.3d 1449, 1453–54 (9th Cir. 1994)).
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              4. The Court sets the following deadlines with respect to class notice:
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                     a. The Notice Start Date. Within 14 days from the entry of this Order, KCC shall
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                         begin implementing the Publication Notice portion of the Notice Plan. Within 28
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                         days from the entry of this Order, KCC shall begin implementing the Direct
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                         Notice portion of the Notice Plan.
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                     b. The Exclusion Deadline. Class members who wish to opt-out of the class shall
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                         request exclusion within 60 days of the conclusion of the Publication Notice
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                         portion of the Notice Plan.
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                     c. Deadline to inform the Court. Class Counsel shall file a list with the names and
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                         addresses of every member who has opted out of the class within 14 days of the
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                         Exclusion Deadline.
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              IT IS SO ORDERED.
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     Dated:
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                                                   The Honorable Claudia Wilken
17                                                 United States Senior District Court Judge
                                                   Northern District of California
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          [PROPOSED] ORDER GRANTING PLS. MOT. TO APPROVE MANNER AND FORM OF CLASS NOTICE
                                        CASE NO. 4:20-CV-03919-CW
